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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                           In Admiralty – Newport News Division

TANGO MARINE S.A.,

       Plaintiff,
                                                   Civil Action No.
v.

ELEPHANT GROUP LIMITED

ELEPHANT GROUP PLC

       Defendants,

and

SHINE BRIDGE GLOBAL INCORPORATED,

       Garnishee.

            VERIFIED COMPLAINT AND REQUEST FOR ISSUANCE OF
            WRITS OF MARITIME ATTACHMENT AND GARNISHMENT

       Plaintiff Tango Marine S.A. (“Tango” or “Plaintiff”) brings this action against

Defendants Elephant Group Limited and Elephant Group PLC (collectively, “Elephant Group”),

quasi in rem, pursuant to Supplemental Admiralty and Maritime Rule B for issue of writs of

maritime attachment and garnishment, and states as follows:

                                   Jurisdiction and Venue

       1.     This is a case of admiralty and maritime jurisdiction pursuant to 28 U.S.C. § 1333

and is an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal Rules of

Civil Procedure.

       2.     Venue is proper in this District because the Garnishee named herein is located and

can be found in this District. Defendants cannot be found in this District within the meaning of

Supplemental Rule B.

                                         The Parties
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        3.     Tango is a Marshall Islands corporation and has its principal place of business at

Piraeus, Greece. At all times relevant to this action, Tango was the owner of the M/V TEAM

TANGO (the “Vessel”).

        4.     Elephant Group is one or more Nigerian corporation with its principal place of

business at Lagos, Nigeria.

        5.     The Garnishee named herein is an entity registered to do business, and with

agents authorized to accept service of process, in this District. On information and belief, the

Garnishee holds property in which Elephant Group has an interest.

                                             Facts

        6.     The Vessel was chartered to carry a cargo of prilled urea (the “Cargo”) owned by

Elephant Group, from Ukraine to Lagos, Nigeria. Tango caused a bill of lading for the Cargo to

be issued to Elephant Group.

        7.     Once the Vessel arrived at Lagos on 18 July 2016, however, the Vessel was

detained and through no fault of Tango or the Cargo, prevented from unloading by Nigerian port

authorities.

        8.     Following a number of Nigerian court proceedings in which Elephant Group

sought to obtain permission to discharge and to prevent the Nigerian government from

confiscating the Cargo, Tango learned that Elephant Group had failed to secure the appropriate

license to permit discharge of the Cargo.

        9.     The Vessel was detained at Lagos for an extraordinary period of approximately

two and one half years, when, on January 10, 2019, the Vessel finally was permitted to depart

from Lagos.

        10.    As a result of Elephant Group’s conduct, demurrage charges of at least USD

1,000,000 have accrued.



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        11.     Tango also was forced to expend at least USD 200,000 to provide supplies and

maintenance to the Vessel.

        12.     Elephant Group is therefore liable to Tango for damages of at least USD

1,200,000.

                              Count I – Breach of Maritime Contract

        13.     Tango incorporates the above paragraphs as if fully set forth herein.

        14.     Elephant Group has breached its maritime contract with Tango as set out more

fully above.

        15.     Despite repeated demand, Tango remains unpaid for amounts due as a result of

Elephant Group’s breach of maritime contract.

        16.     Tango demands judgment against Elephant Group as set forth more fully below.

                     Count II – Maritime Attachment and Garnishment (Rule B)

        17.     Tango incorporates the above paragraphs as if fully set forth herein.

        18.     Tango seeks issue of process of maritime attachment so that it may obtain security

for its claims against Elephant Group and ultimately payment of those claims from the security.

        19.     No security for Tango’s claims has been posted by Elephant Group or anyone

acting on Elephant Group’s behalf to date.

        20.     Elephant Group cannot be found within this district within the meaning of Rule B,

but is believed to have, or will have during the pendency of this action, property and/or assets in

this jurisdiction.

        WHEREFORE, Tango prays:

        A.      That process in due form of law issue against Elephant Group, citing Elephant
                Group to appear and answer under oath each and every one of the matters alleged
                in the Verified Complaint;

        B.      That since Elephant Group cannot be found within this District pursuant to Rule
                B, this Court issue an Order directing the Clerk of Court to issue Process of
                Maritime Attachment and Garnishment pursuant to Rule B attaching all of
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              Elephant Groups’ tangible or intangible property or any other funds held by any
              garnishee, which are due and owing to Elephant Group, up to the amount of at
              least USD 1,250,000 (principal damages of at least $1,200,000, $50,000 for
              interest, costs and attorneys fees) to secure Tango’s claims, and that all persons
              claiming any interest in the same be cited to appear and, pursuant to Rule B,
              answer the matters alleged in the Verified Complaint;

       C.     That as provided in Supplemental Rule B, that such person over 18 years of age
              be appointed as moved for herein pursuant to Supplemental Rule B and Fed. R.
              Civ. P. 4(c) to serve process of Maritime Attachment and Garnishment in this
              action;

       D.     That Tango may be granted such other, further, and different relief as may be just
              and proper.

       Respectfully submitted on November 22, 2019.

                                                          TANGO MARINE S.A.,

                                                          By: /s/ David N. Ventker
                                                          Of Counsel

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                                        VERIFICATION

        I am a Principal of the law firm Simms Showers LLP, counsel to Plaintiff.

        The facts alleged in the foregoing complaint are true and correct to the best of my

knowledge and information based upon the records of Plaintiff made available to me by Plaintiff.

Authorized officers of Plaintiff are not readily available in this District to make verifications on

Plaintiff’s behalf. I am authorized to make this verification on Plaintiff’s behalf.

        I further certify that, pursuant to Supplemental Rule B, I caused a search to be made of

electronic records and Directory Assistance for addresses and telephone numbers in this District

and also for any corporate registration of defendants in the Commonwealth of Virginia. There is

no record of any general or resident agent authorized to accept service of process for Defendants

in this District.

        Pursuant to 28 U.S.C. § 1746(1), I solemnly declare under penalty of perjury that the

foregoing is true and correct.

        Executed on November 22, 2019.

                                                      /s/ J. Stephen Simms

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                                                      J. Stephen Simms




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